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                       IN THE UNITED STATES DISTRICT COURT                              03/07/2019
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                                       LYNCHBURG DIVISION


 CREMIUM, LLC,                                  )      Civil Action No. 6:18-cv-00063
                                                )
        Plaintiff,                              )
                                                )
 v.                                             )      ORDER
                                                )
 EASTERN SHORE FOREST                           )
 PRODUCTS, INC.                                 )      Judge Norman K. Moon
                                                )      Senior United States District Judge
        Defendant.                              )


        Based upon the Stipulation of Dismissal filed by the parties pursuant to Rule 41(a)(1)(A)(ii)

 of the Federal Rules of Civil Procedure, in which the parties request the Court to retain jurisdiction

 to enforce the terms of the parties’ Settlement Agreement (Dkt. 37), it is hereby ORDERED that

 this action is DISMISSED WITH PREJUDICE and that the Court shall retain jurisdiction for

 purposes of enforcement only.

        The Clerk of the Court is directed to strike this matter from the active docket of the Court.

 The Clerk is further directed to send a certified copy of this Order to all counsel of record.

                       7th day of March, 2019.
        ENTERED this _______
